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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1525V
                                    Filed: October 17, 2019
                                        UNPUBLISHED


    ANNE M. ALEXANDER, personal
    representative of the ESTATE OF
    MARILYN OSBORNE ROCK,
                                                             Special Processing Unit (SPU); Joint
                        Petitioner,                          Stipulation on Damages; Influenza
    v.                                                       (Flu) Vaccine; Guillain-Barre
                                                             Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.
Heather Lynn Pearlman, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Corcoran, Chief Special Master:

       On October 2, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that Marilyn Osborne Rock suffered Guillain-Barre
Syndrome (“GBS”) as a result of an influenza (“flu”) vaccine administered on October
10, 2016. Petition at 1; Stipulation, filed October 16, 2019, at ¶¶ 1-2. Petitioner further
alleges that Marilyn Osborne Rock suffered the residual effects of her GBS for six
months, that her death was a sequela of her GBS, and that there has been no prior
award or settlement of a civil action for damages on Ms. Rock’s behalf as a result of Ms.
Rock’s alleged injury. Petition at 1, 5-6; Stipulation at ¶¶ 4-5. “[R]espondent denies that
Ms. Rock’s GBS, or any other alleged injury, lasted for at least six months, and further

1
 I intend to post this decision on the United States Court of Federal Claims' website. This means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioner has 14 days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access. Because this unpublished
decision contains a reasoned explanation for the action in this case, I am required to post it on the United
States Court of Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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denies that Ms. Rock’s death was a sequela of a vaccine-related injury.” Stipulation at ¶
6.

        Nevertheless, on October 16, 2019, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as the decision of the Court in awarding damages, on the terms
set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $75,000.00 in the form of a check payable to petitioner as
        the legal representative of the Estate of Marilyn Osborne Rock. Stipulation
        at ¶ 8. This amount represents compensation for all items of damages that
        would be available under § 15(a). Id.

       I approve the requested amount for petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

                                              )
ANNE M. ALEXANDER, personal                   )
representative of the Estate of MARILYN       )
OSBORNE ROCK, deceased,                       )
                                              )
               Petitioner,                    )
                                              )      No. 18-1525V (ECF)
V.                                            )      Chief Special Master
                                              )      Brian H. Corcoran
SECRETARY OF HEALTH AND                      )
HUMAN SERVICES,                              )
                                             )
               Respondent.                   )
________________)
                                         STIPULATION

       The parties hereby stipulate to the following matters:

       I. Anne M. Alexander ("petitioner"), as personal representative of the Estate of Marilyn

Osborne Rock ("Ms. Rock"), filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine Program"),

seeking compensation for injuries including Guillain-Barre syndrome ("GBS") and death

allegedly related to Ms. Rock's receipt of the influenza ("flu") vaccine, which vaccine is

contained in the Vaccine Injury Table (the "Table"), 42 C.F.R. § 100.3(a).

       2. Ms. Rock received a flu vaccine on or about October 10, 2016.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that as a result of receiving the flu vaccine, Ms. Rock suffered GBS,

and suffered the residual effects of her GBS for six months. Petitioner further alleges that Ms.

Rock's death was a sequela of her GBS.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on Ms. Rock's behalf as a result of Ms. Rock's alleged injury or death.
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        6. Ms. Rock developed OBS within the Table timeframe, and there is not preponderant

evidence demonstrating that her OBS is due to a factor unrelated to her October 10, 2016

immunization. However, respondent denies that Ms. Rock's OBS, or any other alleged injury,

lasted for at least six months, and further denies that Ms. Rock's death was a sequela of a

vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l ), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $75,000.00 in the fonn ofa check payable to petitioner as the legal
        representative of the Estate of Marilyn Osborne Rock. This amount represents
        compensation for all damages that would be available under 42 U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S .C. § 300aa-2 l(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        10. Petitioner represents that she has identified to respondent all known sources of

payment for items or services for which the Program is not primarily liable under 42 U.S.C.

§ 300aa-15(g), including State compensation programs, insurance policies, Federal or State

health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.§ 1396 et

seq.)), or entities that provide health services on a prepaid basis.
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        11. Payment made pursuant to paragraph 8, and any amounts awarded pursuant to

paragraph 9 of this Stipulation, will be made in accordance with 42 U .S.C. § 300aa-l 5(i), subject

to the availability of sufficient statutory funds.

        12. Petitioner represents that she presently is, or within 90 days of the date of judgment

will become, duly authorized to serve as the legal representative of Marilyn Osborne Rock's

estate under the laws of the State of Colorado. No payments pursuant to this Stipulation shall be

made until petitioner provides the Secretary with documentation establishing her appointment as

legal representative of Ms. Rock's estate. If petitioner is not authorized by a court of competent

jurisdiction to serve as legal representative of the Estate of Marilyn Osborne Rock at the time a

payment pursuant to this Stipulation is to be made, any such payment shall be paid to the party or

parties appointed by a court of competent jurisdiction to serve as legal representative of the

Estate of Marilyn Osborne Rock upon submission of written documentation of such appointment

to the Secretary.

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and as Administrator of the Estate ·or Marilyn Osborne Rock, on behalf of

Ms. Rock's estate and her heirs, executors, administrators, successors, and assigns, does forever

irrevocably and unconditionally release, acquit and discharge the United States and the Secretary

of Health and Human Services from any and all actions or causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in

the United States Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of Ms. Rock resulting

from, or alleged to have resulted from, the flu vaccine administered on or about October 10,
                                                     3
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2016, as alleged in a petition for vaccine compensation filed on October 2, 2018, in the United

States Court of Federal Claims as petition No. 18- 1525V.

        14. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the United States Comt of Federal Claims fails to enter judgment in

conformity with a decision that is in complete conformity with the terms of this Stipulation, then

the parties' settlement and this Stipulation shall be voidable at the sole discretion of either party.

        15. This Stipulation expresses a full and complete negotiated settlement ofliability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and fu1ther, that a change in the items of compensation sought is not

grounds to modify or revise this agreement.

        16. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused Ms. Rock's alleged GBS, or

any other injury, or that Ms. Rock's death was a sequela of a vaccine-related injury.

       17. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




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  Respectfully submitted.

  PETITIONER:


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 ANNE . ALEXAN ER '
ATTOR.i'iEY OF RECORD FOR                       AUTHORIZED REPRESENTATIVE
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AUTHORIZED REPRESENTATIVE OF                    ATTOR~EYOFRECORDFOR
THE SECRETARY OF HEALTH AND                     RESPONDENT:
HUMAN SERVICES:




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